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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
LAFAYETTE DIVISION

EULALIA MCCOY, INDIVIDUALLY; *
WENDAL HINES AND EULALIA *
MCCOY ON BEHALF OF THEIR MINOR *
CHILDREN, ALAYSIA MCCOY AND *

RAJAN MCCOY **
*k
VERSUS *
THE TRAVELERS INDEMNITY *
COMPANY OF CONNECTICUT, *
*

BROOKSHIRE GROCERY COMPANY
D/B/A SUPER 1 FOODS AND JOHN DOE *

*
*

CIVIL DOCKET NO.

JUDGE:

 

MAGISTRATE JUDGE:

JURY TRIAL

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NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

BROOKSHIRE GROCERY COMPANY hereinafter referred to as Mover, files this

Notice of Removal of this cause to the United States District Court for the Western District of

Louisiana, Lafayette Division, and in support of this Notice of Removal respectfully shows the

Court the following:

Mover is a defendant in the above-styled cause which has been filed in the 16" Judicial

District Court for the Parish of St. Mary, Docket No. 135101, Division B. A copy of the Citation

and Petition for Damages are attached to this Notice of Removal and marked for identification in

globo as Exhibit “A”.

 
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Il.

In the Petition for Damages, EJDLALIA MCCOY alleges inter alia that she was injured
on September 21, 2019, when she slipped on a slippery substance at the Super 1 Foods store
operated by Brookshire Grocery Company in Franklin, Louisiana. EULALIA MCCOY alleges
that her fall resulted in bodily injuries and associated damages. (See Petition for Damages).

Il.

The civil action described above is brought by EULALIA MCCOY, Individually;
WENDAL HINES and EULALIA MCCOY on behalf of Their Minor Children, ALAYSIA
MCCOY and RAJAN MCCOY, residents of St. Mary Parish, State of Louisiana. (See Petition
for Damages, preamble). BROOKSHIRE GROCERY COMPANY is a corporation organized
under the laws of the State of Texas with its principal office located in Texas. THE
TRAVELERS INDEMNITY COMPANY OF CONNECTICUT (“TRAVELERS”) is a
corporation organized under the laws of the State of Connecticut with its principal place of
business located in Connecticut. THE TRAVELERS INDEMNITY COMPANY OF
CONNECTICUT was dismissed from this lawsuit on November 4, 2020. A copy of the Motion
and Order of Partial Dismissal Without Prejudice is attached to this Notice of Removal and
marked for identification in globo as Exhibit “B.” Therefore, because BROOKSHIRE
GROCERY COMPANY is not a Louisiana citizen, EULALIA MCCOY, Individually;
WENDAL HINES and EULALIA MCCOY on behalf of Their Minor Children, ALAYSIA

MCCOY and RAJAN MCCOY are diverse from Defendant in this litigation.
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IV.

BROOKSHIRE GROCERY COMPANY filed its Answer to Petition for Damages on
September 23, 2020. A copy of the Answer to Petition for Damages and Request for Trial by
Jury is attached to this Notice of Removal and marked for identification in globo as Exhibit “C.”
A Jury Order was signed by the Court on behalf of BROOKSHIRE GROCERY COMPANY on
September 23, 2020. A copy of the Jury Order is attached to this Notice of Removal and marked
for identification in globo as Exhibit “D.” The referenced exhibits constitute all process and
pleadings which have been filed and/or served in this action on Mover, BROOKSHIRE
GROCERY COMPANY.

V.

PLAINTIFFS’ claims also meet the amount in controversy requirement. In Paragraphs
10 and 11 of the Petition for Damages, it is alleged by EULALIA MCCOY that she has sustained
“severe and disabling injuries, including but not limited to injury to the bones, muscles, tendons,

ligaments and soft tissue” and itemized her damages as follows:

a) Past, present and future medical expenses;

b) Past, present and future mental anguish and distress;
c) Past, present and future physical pain and suffering;
d) Permanent physical impairment; and

e) Loss of enjoyment of life.

(see Paragraph 10 and 11, Petition for Damages).
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VI.

Based on medical records produced by PLAINTIFF in response to written discovery
received by counsel for Mover on November 4, 2020, EULALIA MCCOY was seen following
the alleged accident at FFH Family Care on September 24, 2019. She complained of low back
pain along with left knee pain. Medication and physical therapy was prescribed. (See Exhibit
“FE”, Report of FFH Family Care dated September 24, 2019).

Thereafter, PLAINTIFF was seen on March 5, 2020, by Dr. Robert Franklin, Physical
and Rehabilitation Specialist. Following his examination, Dr. Franklin diagnosed PLAINTIFF
with a cervical, thoracic and lumbar strain, possible underlying spinal pathology, and bilateral
patellar tendonitis. MRI scans were ordered by Dr. Franklin. On April 14, 2020, Dr. Franklin
noted that the cervical MRI scan revealed “a disc herniation at the C4-5 and C5-6 levels.” The
knee MRI scan revealed chondromalacia of the patella, a small joint effusion, and a suspected
tracking abnormality. By May 21, 2020, PLAINTIFF’S symptoms persisted and she was
unimproved. She continued to complain of neck, upper back, mid-back, low back, and bilateral
knee pain. On July 15, 2020, PLAINTIFF reported no improvement and continued with “severe
to very severe and constant to intermittent neck, upper back, mid-back, low back, and bilateral
knee pain. By August 19, 2020, PLAINTIFF was unimproved and “concerned.” She continued
with severe to very severe and constant spinal pain. For her knee issues, Dr. Franklin issued a
referral for an orthopedic evaluation. For her “cervical disc herniation,” Dr. Franklin issued a

referral for a “spinal surgical eval.” (See Exhibit F, Records from Dr. Robert Franklin).
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VU.

PLAINTIFF alleges that she sustained a cervical disc herniation and has received a
referral for an evaluation by a spinal surgeon. Case law addressing cervical disc herniations
involves awards that meet the amount in controversy requirement for diversity jurisdiction. (See
Raimondo v. Hayes, 2009-955 (La. App. 3 Cir. 2/17/10), 37 3d 1177; general damage award of
$65,000.00). Further considering PLAINTIFF’S complaints of knee pain (noting the referral to
an orthopedist) and medical charges from Dr. Franklin and Advanced Imaging for the MRI scans
which total $5,000.00, the amount in controversy meets the $75,000.00 threshold.

VII.

This civil action is one in which this Honorable Court has original jurisdiction by reason
of diversity of citizenship and amount in controversy, 28 U.S.C. § 1332, and is removable under
28 ULS.C. § 1441, et seq.

IX.

This Notice of Removal is being filed within 30 days of Mover’s receipt of
PLAINTIFF'S Answers to Interrogatories which contained the medical records referenced in
Paragraph VI, and is therefore timely filed under 28 U.S.C. § 1446.

X.

Promptly after filing this Notice of Removal, Mover is serving written Notice of Removal
upon the adverse party, and a copy of this Notice of Removal is being filed with the Clerk of the
16" Judicial District Court for the Parish of St. Mary, State of Louisiana, to effect the removal of

this action to this Court, all in conformity with 28 U.S.C. § 1446.
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WHEREFORE, BROOKSHIRE GROCERY COMPANY, prays that this Notice of
Removal be accepted as good and sufficient, and that the above-captioned civil action be
removed from the 16" Judicial District Court for the Parish of St. Mary, State of Louisiana, to
this Honorable Court, for trial and determination as provided by law; that this Court enter such
orders and issue such process as may be necessary and proper and thereupon proceed with this
civil action as if originally commenced in this Court, and for all necessary and appropriate orders
and decrees in accordance with the applicable law.

Respectfully submitted
BREAUD & MEYERS

s/Andrew H. Meyers

 

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COMPANY
